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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


In re: AHMAD MUSA JEBRIL and                       Case No. 05-70840
MUSA ABDALLAH JEBRIL,                              Related to Criminal Case No. 03-80810
____________________________/.                     Honorable Gerald E. Rosen

SUBHIEH JEBRIL,

       Petitioner,

vs.

UNITED STATES OF AMERICA,

      Respondent.
_____________________________/.

  ORDER GRANTING GOVERNMENT’S MOTION TO DISMISS 5745 GREENVIEW
               AND 12000 SANFORD FROM FORFEITURE

       The Government, having filed a motion to dismiss the real property known as 5745

Greenview and 12000 Sanford from the forfeiture proceedings (docket #23);

       The Court, having fully considered all relevant pleadings and issues, hereby

       GRANTS the motion to dismiss the real property known as 5745 Greenview and 12000

Sanford from the forfeiture proceedings.

       SO ORDERED.

                             s/Gerald E. Rosen
                             Gerald E. Rosen
                             United States District Judge

Dated: February 28, 2008
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I hereby certify that a copy of the foregoing document was served upon counsel of record on
February 28, 2008, by electronic and/or ordinary mail.

                             s/LaShawn R. Saulsberry
                             Case Manager
